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                                    UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                              CASE NO.: 2:18-bk-19004-VZ
                                                                     CHAPTER: 11


                                                                             SECOND AMENDED DISCLOSURE
                                                                                 STATEMENT AND PLAN
                     JONG UK BYUN,
                                                                             OF REORGANIZATION OF DEBTOR
                                                                              WHO IS AN INDIVIDUAL(S) WITH
                                                                              PRIMARILY CONSUMER DEBTS
                                                                                      [11 U.S.C. §§ 1123, 1125]

                                                                            Initial Disclosure Statement and Plan
                                                                            1st Amended Disclosure Statement and Plan


                                                                                   For information on court hearings,
                                                      Debtor(s).              see the separately filed notice(s) of hearing.


The Debtor is an individual(s) with primarily consumer debts who filed a chapter 11 bankruptcy case to treat claims
through a plan of reorganization. 11 U.S.C. § 1125 requires the Debtor to disclose adequate information about a plan
before the Debtor can solicit votes on that plan. To avoid confusion and contradiction, the Debtor filed the document you
are reading as a combined “Disclosure Statement and Plan of Reorganization” (“DS and Plan”).

PLAN. Sections VII – IX of the DS and Plan constitute the plan of reorganization (the “Plan”), and contains all information
required by 11 U.S.C. § 1123, including the proposed treatment of claims and the effects of confirming the Plan. If the
court confirms the Plan, the terms will be binding on the Debtor and on claimants treated by the Plan.

DISCLOSURE STATEMENT. Sections I – VI and X of the DS and Plan constitute the disclosure statement (the “DS”),
The DS meets the standard for adequate information set forth in 11 U.S.C. § 1125(a). The information disclosed is for
explanatory purposes only and is as accurate as possible.
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                                                        NOTE ABOUT CITATIONS
                    “Chapter, section and §” references are to 11 U.S.C. §§ 101-1532 of the Bankruptcy Code.
                    “FRBP” references are to the Federal Rules of Bankruptcy Procedure.
                    “LBR” references are to the Local Bankruptcy Rules for the Central District of California.
                    “Motion” references mean that a motion is properly filed, served, and ruled on by the court.

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I. TYPE OF PLAN OF REORGANIZATION; IMPORTANT DATES
    Payments and treatments under the Plan have a starting date (“Effective Date”), a period of time after the Effective
    Date to continue payments (“Plan Term”), and a final payment date.

                  Plan Type                       Effective Date                            Plan Term             Final Payment Date

                   Operating           14 days after order confirming Plan                 5 years; or             JulyOctober 1, 2024
                                                                                                                       (estimated)
                   Liquidating         Other date: the first business                               months
                                   day that is fourteen (14)
                                   calendar days after the entry
                                   of the order confirming the
                                   Plan, with payments
                                   beginning by the first day of
                                   the following month.

        A. EXECUTIVE SUMMARY OF THE PLAN OF REORGANIZATION
         The Debtor expects to sell two of his seven properties and pay bulk of his secured creditors out of those two
sales. There are seven secured creditors who will be paid in full out of the sales as well as all past due property taxes.
The primary secured lender, Hyundai Steel Company, has a lien on four of the properties. The Debtor has listed the two
properties for sale, Santa Fe and 24th Street, and expects to complete sales of those properties by December 1, 2019.
The delay in completing a sale of Santa Fe has been an investigation of the property by the Environmental Protection
Agency (EPA). There is significant interest in that property however the buyers require completion of the EPA
investigation. The Debtor expects the EPA to complete its investigation by October or November 2019. As to 24th Street,
the Debtor has a buyer for the property but the buyer has been unable to date to secure financing for the purchase based
on its bank’s concern over environmental issues.

        The Debtor is not using either of these two properties substantially in his Central Metals, Inc. recycling business
therefore the sales will have no effect of that business.

        The Debtor will pay his unsecured creditors in full over 60 months out of the rent and personal income he
receives from Central Metals, Inc.


II. BACKGROUND INFORMATION ABOUT THE DEBTOR
        A. FACTORS THAT LED TO FILING THIS BANKRUPTCY CASE. (Describe briefly):

              The Debtor is a single individual, 67 years of age. The Debtor owns real property, as set forth below, which is
              fairly valued in the range of $40 million. He does not own a home.

              He also owns 100% of Central Metal, Inc. which he formed in 1993. He has operated that business ever
              since. Much of the Debtor’s real property is used by the recycling business. The Debtor owns no other
              business operations at this time.

              A. Overview of Central Metal, Inc.
              Central Metal is an innovative metal processor that integrates culture of recycling reusable metals by
              preserving our natural resources for the future generations. When materials are received by Central Metal,
              they are weighed on its certified scales and weigh-master. Materials are then processed by first grouping
              them into different classes and grades. The graded materials are prepared according to specification,
              including baling, shearing, crushing, torch-prepping, or others. The materials are put into appropriate
              containers for shipment. Central Metal is the leader in technology development and its application. It
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              created innovative ways to load scrap metal into containers and are equipped with state of the art
              machineries that allow us to provide fast and efficient service to our customers. Central Metal receives scrap
              vehicles from various industries and private sectors in order to properly dispose of and recycle any reusable
              and valuable materials. It removes any contaminants and extract the reusable materials for further process.

              Gross sales for Central Metal for fiscal year ended February 28, 2017 was $7.1 million; for 2018 $5.1 million;
              for 2019 $8.3 million.

              Central Metal currently conducts its business activities out of four (4) facilities throughout Southern California
              – one facility in the Los Angeles County area, one facility in Hinkley/Barstow, one facility in San Bernardino,
              and one facility in Bakersfield. The company had a fifth location in Los Angeles until about a year ago.
              Central Metal’s largest customer was, until approximately mid-2016, Hyundai Steel Company, Ltd.
              (“Hyundai”). From 2007 through mid-2016, Central Metal sold Hyundai more than $180 million in recycled
              materials. Hyundai stopped buying product from Central Metal in mid-2016. Litigation began between the
              Debtor, Central Metal and Hyundai and continues to this time.

              B. The major events or circumstances that led to the filing.
              The Debtor filed this personal chapter 11 case to stop a non-judicial foreclosure sale on four of his real
              propertiesproperty by the senior deed of trust holder, Hyundai. The foreclosure sale was set for August 6,
              2018. When the Debtor was unable to convince Hyundai to continue the sale, he filed the petition. A judicial
              foreclosure action filed by Hyundai against the Debtor is pending at this time.

              Debtor owns 7 real properties. None of them are his residence.

                                                               RESIDENCE

                             Address                                       Value                                        Liens
               None


                                                               RENTAL PROPERTIES

                            Address                                        Value                                        Liens

               “Santa Fe Ave. Property”                   $25 million                                  Liens:
               8201 Santa Fe Ave. Huntington              Note: The Debtor owns the land               1. L.A. County
               Park, CA 90255                             and Central Metal, Inc. owns the             2. Hyundai $22.1 million
               9 parcels, approx. 11 acres                improvements. The total value of             3. Packo Investment $2,000,000
                                                          the land and improvements is $25             4. BAE Family Trust $1,290,000
                                                          million. Central Metal, Inc. will            5. Soo Yeong Kim $100,000
                                                          cooperate with the sale of the               6. Mohamed Sanfaz
                                                          property. The liens to the right             $500300,000
                                                          attach to the full value.                    7. Toni Ko $877,500943,313
                                                                                                       8. Allen Park - Packo
                                                          See Declaration of Jong Uk Byun              Investment $100,000

               “Alameda Property 1”                       $4.8 million (Debtor’s estimate)             Liens:
               2203 S. Alameda St.                                                                     1. L.A. County
               Los Angeles, CA 90058                                                                   2. Hyundai $22.1 million
               Two parcels, approx. 80,000 sq ft.                                                      3. Packo Investment $2,000,000
                                                                                                       4. BAE Family Trust $1,290,000
               Rent paid by Central Metal, Inc.                                                        5. Soo Yeong Kim $100,000
               $25,714 @month                                                                          6. Mohamed Sanfaz
                                                                                                       $500300,000
                                                                                                       7. Toni Ko $877,500943,313
                                                                                                       8. Allen Park - Packo

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                                                                                                       Investment $100,000

               “Alameda Property 2”                       $5.5 million (per pending sale)              Liens:
               1736 E. 24th St.                           Note: The Debtor owns the land               1. L.A. County
               Los Angeles, CA 90058                      and Central Metal, Inc. owns the             2. Hyundai $22.1 million
               Lot w/ building used as office.            improvements. The total value of             3. Packo Investment $2,000,000
               Vacant                                     the land and improvements is                 4. BAE Family Trust $1,290,000
                                                          $5.5 million. Central Metal, Inc.            5. Soo Yeong Kim $100,000
                                                          will cooperate with the sale of the          6. Mohamed Sanfaz $500,000
                                                          property. The liens to the right             7. Toni Ko $877,500943,313
                                                          attach to the full value.                    8. Allen Park - Packo
                                                                                                       Investment $100,000
                                                          $1.4 million (Debtor’s estimate)             Liens:
               “Alameda Property 3”                                                                    1. L.A. County
               2445 S. Alameda St.                                                                     2. Hyundai $22.1 million
               Los Angeles, CA 90058                                                                   3. Packo Investment $2,000,000
               29,000 sq ft                                                                            4. BAE Family Trust $1,290,000
                                                                                                       5. Soo Yeong Kim $100,000
               Rent paid by Central Metal, Inc.                                                        6. Mohamed Sanfaz $500,000
               $5,143 @month                                                                           7. Toni Ko $877,500943,313
                                                                                                       8. Allen Park - Packo
                                                                                                       Investment $100,000
               1770 E. 22nd St.                           $150,000 (Debtor’s estimate)                 1. L.A. County
               Los Angeles, CA 90058                                                                   2. Deutsche Bank $221,000
               SFR vacant                                                                              3. Packo Investments
                                                                                                       $2,000,000
                                                                                                       4. Bae Family Trust $1,290,000
                                                                                                       5. Soo Yeong Kim $100,000
                                                                                                       6. Mohamed Sanfaz $500,000
                                                                                                       7. Toni Ko $877,500943,313
                                                                                                       8. Allen Park - Packo
                                                                                                       Investment $100,000
               144 & 146 S. “G” Street                    $ 1 million (Debtor’s estimate)              1. M&A $600900,000
               San Bernardino, CA 92410                                                                ($863,000 originally(same debt
               4.2 acres – 180,000 sq ft                                                               as attached to Hinckley property)
               5 Parcels                                                                               2. Bok Soon Byun $360,000
                                                                                                       3. Packo Investments
               Rent paid by Central Metal, Inc.                                                        $2,000,000
               $12,343 @month                                                                          4. BAE Family Trust $1,290,000
                                                                                                       5. Soo Yeong Kim $100,000
                                                                                                       6. Kap Chan Chong $98,114
                                                                                                       7. Mohamed Sanfaz $500,000
                                                                                                       8. Allen Park - Packo
                                                                                                       Investments $100,000
               24399 Old Highway 58,                      $400,000 (Debtor’s estimate)                 1. San Bernardino County
               Hinkley, CA 92347                                                                       $32,492.52
               34 acres                                                                                2. M&A $300900,000 ($462,500
                                                                                                       originally(same debt as attached
               Rent paid by Central Metal, Inc.                                                        to San Bern property)
               $3,086 @month                                                                           3. Soo Yeong Kim $100,000



              Each of these properties are used to some extent in the Debtor’s recycling business operating through his
              wholly owned corporation, Central Metal, Inc.


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         B. ACTIONS TAKEN TO SOLVE FINANCIAL PROBLEMS. The Debtor filed this case on (date) August 3,
            2018., which is called the “Petition Date”.

                          Actions Taken Before Petition Date:                           Actions Taken After Petition Date:

                The Debtor listed two of his properties for sale so           The Debtor will continue to try to find buyers for at
                that he could pay the secured creditors out of                least the Santa Fe Property and the Alameda
                escrow. He had a sale pending for the Santa Fe                Property 2 (24th Street) which he believes will pay
                Property for $28 million on the petition date. That           the secured creditors in full.
                sale would have paid the secured creditors in full.
                The buyer ultimately walked away from the sale,
                post -petition.



         C. PROJECTED FINANCIAL PERFORMANCE AFTER PLAN CONFIRMATION. (Describe briefly)
         As set forth in detail on the attached income and expense projections (Exhibit D), with the payments to his
secured creditors from the sale of the two properties as proposed in his Plan, Debtor will have sufficient income to
maintain consistent payments to his priority and secured creditors, with the remainder being paid to his unsecured
creditors.

///




III. DEFINITIONS AND PRELIMINARY INFORMATION

      A. CLAIMS AND CLAIMANTS

         1. Claim [§ 102(2)]. “Claim” refers to all obligations of the Debtor or against property of the Debtor. Claims
            treated under the Plan are included whether the claim arose before or after the bankruptcy case was filed,
            and whether or not an obligation involves a cash payment.

         2. Claimant. A claimant refers to any party treated under the Plan, even if the party did not file a proof of claim.

      B. ALLOWED, DISALLOWED, AND DISPUTED CLAIMS

         1. Allowed Claims. A claim is allowed if it is (a) timely and properly scheduled or filed, and not objected to; or
            (b) objected to, and was settled by the parties or otherwise determined by a court order. Allowed claims are
            provided for in the Plan in the relevant category or class.

         2. Disallowed Claims. A claim is disallowed if it was timely objected to by the Debtor, and the court made a
            ruling that the claim is disallowed in part or entirely. Disallowed claims are not treated under the Plan.

         3. Disputed Claims. A claim is disputed if a ruling on allowance has not been made, and (a) a proof of claim has
            been filed or deemed filed and the Debtor or a party in interest has filed an objection; or (b) a proof of claim
            has not been filed and the Debtor scheduled such claim as disputed, contingent, unliquidated or unknown.

              a. Deadlines for the Claims Objection Process. (1) File proof of claims: Dec 14, 2018; and (2) File
                 objections to claims:              and/or hold a hearing on objections to claims: April 29, 2019.

              b. Objections to Claims.      Debtor does not anticipate objecting to any other claims; or
                      The objection process is pending, or will begin, for the following claims:

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                        Claimant                         Proof of            Amount                   Basis of Objection to Claim
                                                         Claim #             of Claim

          Packo Investments                              7                  $2 million           Debtor has offsets and/or a portion of
                                                                                                 the claim has been paid via other
                                                                                                 transactions

          M&A                                            8                  $600,000             Debtor has offsets and/or a portion of
                                                                                                 the claim has been paid via other
                                                                                                 transactions

          BAE Family Trust                               9                  $1,290,000           Debtor has offsets and/or a portion of
                                                                                                 the claim has been paid via other
                                                                                                 transactions

          Mohamad Sanfaz                                 10                 $500,000             Debtor has offsets and/or a portion of
                                                                                                 the claim has been paid via other
                                                                                                 transactions

          Allen Park                                     11                 $100,000             Debtor has offsets and/or a portion of
                                                                                                 the claim has been paid via other
                                                                                                 transactions

          Hyundai Steel Company                          22                 $22 million          Debtor has offsets and/or a portion of
                                                                                                 the claim has been paid via other
                                                                                                 transactions




              c.   Delayed Distribution on Disputed Claims; Settlement: No distribution will be made on a claim’s disputed
                   portion unless allowed by a final non-appealable order. FRBP 9019 authorizes the Debtor to settle
                   disputed claims with court approval; but, court approval is not required if a proposed settlement does not
                   exceed $2,500. The Debtor is required to reserve funds to pay the amount claimants would receive if the
                   claim is allowed in full (unless the court approves a different amount). To the extent a disputed claim is
                   disallowed, (a) the funds that had been reserved for such claims will be distributed as provided in the Plan
                   to other creditors of the same class (or as ordered by the court); or (b) if this box is checked     then
                   such funds will be distributed to the Debtor.

  C. POTENTIAL § 1111(b) ELECTIONS. § 1111(b) allows a partially secured claim to be treated as fully secured
     under certain conditions, notwithstanding § 506(a). Claimants should consult their attorney to evaluate if a
     § 1111(b) election is available and is in their best interest, and to identify the deadline for making an election.


  D. VOTING BY BALLOT; FILING OBJECTION TO CONFIRMATION OF PLAN.

      1. Introduction. “Voting” to accept or reject the Plan is different from “objecting” to confirmation of the Plan.

          a. What does voting mean? Voting means a claimant submits a ballot to the Debtor. Ballots are counted so
             the court can determine claims and classes of claims which accept proposed claim treatment, and classes
             of claims which reject the proposed treatment. Whether each class “accepts” or “rejects” treatment is only
             one factor the court must consider to determine whether to grant the Debtor’s request to confirm the Plan.

          b. What does “objecting to confirmation” mean? Objecting to confirmation means a party files and serves
             a document that explains their objection. The Debtor must satisfy many requirements for the court to
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                 confirm the Plan, and any factor may be a problem the Debtor has not solved before the hearing on Plan
                 confirmation. For example, a claimant may object because the Debtor placed their claim in a category or
                 class that is not entitled to vote, and the claimant believes the claim is subject to voting. Other parties may
                 object because they think the Plan is not feasible, or that the Debtor has not submitted sufficient evidence
                 to support financial projections, or has included a term in the Plan that violates the Bankruptcy Code.

            c.   Notice of Deadlines for Voting and Objecting. The Debtor will file and serve 2 notices: (1) Notice of
                 Hearing on Adequacy of Disclosure Statement (“Notice of DS Hearing”); and Notice of Dates Related to
                 Confirmation of Plan and Deadlines to (A) Submit Ballot; (B) File Preliminary Objection to Confirmation of
                 Plan; and (C) File Response to Motion to Confirm Plan (“Notice of Deadlines Related to Confirmation”).

      2.    Voting by Ballot.

            a. Who may vote (§ 1124). Look for your claim to see if the Debtor believes you are entitled to vote.

                 (1) Not Entitled to Vote. The Bankruptcy Code treats many claimants as having accepted the Plan without
                     a vote because the Plan treats the claim exactly as required by the Bankruptcy Code. The Bankruptcy
                     Code also treats claimants as having rejected the Plan without a vote if (a) the claimant is to receive no
                     distribution under the Plan; (b) an objection has been filed to that claimants’ claim and the objection has
                     not been resolved prior to filing the Plan; or (c) Debtor scheduled a claim as contingent, disputed,
                     unliquidated or unknown and the creditor has not filed a proof of claim.

                 (2) Entitled To Vote. Claimants are entitled to vote when their claim is impaired, i.e. the Plan alters the
                     contractual, legal or equitable rights of the claimant. In addition, a creditor whose claim has either been
                     objected to or has been scheduled by the Debtor as contingent, disputed, unliquidated, or unknown, or
                     who has not filed a proof of claim, and who wants to vote, must file a motion to have its claim allowed
                     for voting purposes in time for that motion to be heard before the hearing on confirmation of the Plan.

            b. Effect of vote. The Plan can be confirmed if (i) it is accepted by each impaired class because a majority in
               number and at least two-thirds in dollar amount of the claimants in that class who timely voted to accept the
               Plan; or (ii) it is subject to cram down because it was accepted by at least one impaired class exclusive of
               insiders (as defined by §101(31)) and the court determines the Plan is “fair and equitable” (as defined by
               §1129(b)) to all rejecting classes of creditors, and it meets all other criteria required for confirmation).

            c. How to vote. A ballot will accompany the Notice of Deadlines Related to Confirmation. A voting claimant
               must follow the instructions set forth in the Notice of Deadlines Related to Confirmation. A claimant whose
               claim is allowed as partly secured and partly unsecured is entitled to vote in each capacity by delivering one
               ballot for the secured part of the claim and another ballot for the unsecured portion of the claim.

      3. Filing an Objection to Confirmation of the Plan

              a. Who may object. Any claimant or other party in interest may object to confirmation of the Plan.

              b. How to object. Follow the instructions set forth in the Notice of Deadlines Related to Confirmation.

              c. Effect of objection. The court will consider all objections that are timely and properly filed and served.
                 If the objection has merit, it may result in the court denying the Debtor’s request to confirm the Plan.



IV. LIQUIDATION ANALYSIS

    A. RECOVERY ON GENERAL UNSECURED CLAIMS IN A CHAPTER 7 CASE vs. UNDER THE PLAN.
       For claimants who hold general unsecured claims, a factor to help them determine whether to vote to accept or
       reject a plan is to compare the amount the claimant would receive in a chapter 7 bankruptcy case instead of the
       amount proposed in the Plan. The following table illustrates the comparative payouts in terms of the percentage
       of the amount of a general unsecured claim that would be paid in a chapter 7 case vs. paid under the Plan.


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              1. CALCULATION OF ESTIMATED PERCENT RECOVERY IN A CHAPTER 7 CASE

               (a) Net Liquidation value of Debtor’s assets in a Chapter 7 case: See Exhibit C for a
                   list of all property of the bankruptcy estate, valuations, and valuation methods:
                    (1) Total value of the Debtor’s assets: $38,281,323
                    (2) Total dollar amount that must be subtracted from the total asset value before
                        paying general unsecured claims:

                        A. Liens:         $28,071,500 D. Taxes:                  $1,015,580
                        B. Sale costs: $2,296,879             E. Exemptions: $-0-                 TOTAL of A-F
                        C. Fees:          $0                F. Other:            $0                     $31,383,959

                                                    (3) Net liquidation value of assets:         (a)(1) minus (a)(2) =
              *Note: Some portion of the Debtor’s real property are assets is actually owned by his entity,
              Central Metal, Inc. The liens which attach to the properties are guaranteed by Central Metal
              and thus attach to 100% of the property, i.e., the Debtor’s portion and Central Metal’s portion.           $6,897,364

               (b) Expenses to be paid before paying general unsecured claims.
                    (1) Trustee’s Fees: Assuming the chapter 7 trustee disburses the net liquidation value
                        of assets to claimants, § 326 indicates the chapter 7 trustee is entitled to fees of:

                        * 25% on the first $5,000 of all moneys disbursed = $1,250,
                        * 10% on any amount over $5,000 but less than $50,000 = $4,500,
                        * 5% on any amount over $50,000 but not in excess of $1 million = $47,500,
                        * 3% on all amounts over $1 million) = $846,750,

                     (2) Administrative Expense Claims: = $100405,000, as follows:
              (a) $100,000 general administrative expenses, (b) $305,000, US Trustee quarterly fees
              if sales occur during the pendency of the chapter 11 case.

                    (3) Tax Claims: = $-0- (Priority taxes)

                    (4) Other Unsecured Claims to be Paid Before General Unsecured Claims: = $0                          -
                                                                                                                         $1,000,0002
                                                     TOTAL DOLLAR AMOUNT OF (b) (1) + (2) + (3) + (4) =                  51,750

               (c) Dollar Amount Available for General Unsecured Claims: (a) minus (b) =
              $5,897,364645,614
               (d) Dollar Amount of General Unsecured Claims: = $1,341,977 (See Exhibit B.)

               (e) % Chapter 7 recovery on general unsecured claims: [ (c) divided by (d) ] x 100% =                        100%




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              2. CALCULATION OF PROPOSED PERCENT RECOVERY UNDER THE PLAN

               (a) Dollar Amount Proposed to Pay General Unsecured Claims: $1,341,977

                (b) Dollar Amount of General Unsecured Claims: $1,341,977 (See Exhibit B; but note
              that this amount does include the unsecured portion of any junior liens that may remain
              outstanding after the sale of the two properties. The Debtor expects to pay the junior liens in
              full out of the sales.)

               (c) % Chapter 11 payout on general unsecured claims: [ (b) divided by (a) ] x 100% =                              100%


V. NON-INCOME SOURCES TO FUND PLAN. See Exhibit D for income and other contributions that will fund
    the Plan (Combined Monthly Income). If additional funding sources (non-income) are needed, see below:

    A. Loan or Line of Credit:               None        Loans or Lines of Credit are as follows:

               NAME OF LENDER                                      CONTRIBUTION                  TERM           INT RATE     PROCEEDS
                                                                      TYPE
               (1)                                                 Loan       Credit                                     %   $
                                                                Line

               (2)                                                 Loan       Credit                                     %   $
                                                                Line


    B. Sales of Property:                  None      Property is planned to be sold as follows:

               PROPERTY DESCRIPTION: See sections VII.A-G to                           PROPOSED              PROPOSED            PROCEEDS
               identify properties listed below from CLASS #3 - #6.                      SALE                  SALE               TO FUND
               A sale motion is required (FRBP 6004 and LBR 6004-1).                     DATE                  PRICE             THE PLAN

               (1)      Residence (CLASS #3 or #4)                                                       $                   $

               (2)      Property in CLASS #5 or #6: Check only ONE:
                           5a         5b        5c         5d         5e               4/1/20198/15/     $5,500,000          $5,280,000
                           6a         6b        6c         6d         6e               2019 (but no
                                                                                       later than
                                                                                       12/31/2019)
               (3)      Property in CLASS #5 or #6: Check only ONE:
                           5a         5b        5c         5d         5e               12/1311/2019      $25 million         $23,750,000
                           6a         6b        6c         6d         6e


        Note: The Debtor has entered into an agreement to sell his property located at 1736 E. 24th St., Los Angeles, CA
        90058. He expects the sale to close approximately in mid-August, 2019. The net proceeds of the sale will be
        paid entirely to Class 6a Hyundai thereby reducing the Hyundai secured claim by approximately $5 million. The
        court previously approved this sale but since the sale did not close by April 30, 2019, the Debtor will have to file a
        new motion to Approve Sale which he expects to do in August, 2019.



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        The Debtor expects the sale of his property at 8201 Santa Fe Ave. Huntington Park, CA 90255 to close in
        November or no later than 12/31/2019. The net proceeds from that sale will be paid first to Hyundai until it is paid
        in full and then to the junior lienholders of Class 6b, 6c, 6d etc. The Debtor expects the sales proceeds to be
        sufficient to pay Hyundai in full and most, if not all, of the junior lienholders on those properties in full

    C. Adversary Proceedings:                 None        Adversary proceedings are as follows:

              ADVERSARY PROCEEDING DESCRIPTION:                                 DATE FILED OR            ADV. PROC.            ANTICIPATED
              FRBP 7001 and LBR 7004-1 require a                                 TO BE FILED              NUMBER                RECOVERY
              summons/complaint.
              (1)                                                                                                             $


              (2)                                                                                                             $



VI. FINANCIAL FEASIBILITY OF THE PLAN. The court must find that confirmation of the Plan is not likely
    to be followed by liquidation or the need for further reorganization, unless that is proposed in the Plan.

    A. Payments Before Plan Confirmation. This section demonstrates the Plan is feasible before confirmation.


               Domestic Support Obligation Due After Petition Date (Section VII.A.) = $ 0


               Source of Funds:             N/A


    B. Payments on the Effective Date. This section demonstrates the Plan is feasible on the Effective Date.

                     (1) CLAIMS AND EXPENSES TO BE PAID ON THE EFFECTIVE DATE                                                 AMOUNT

          Cure Payments: Executory Contracts, Unexpired Leases: Section VII.B.2.                                          0

          Administrative claims + Statutory Costs/Charges: Section VII.C.1. +court costs                                  50,0000

          1st Payment: Domestic Support Obligation Due Before Petition Date: Section VII.D.                               0

          Nominal Unsecured Claims: Section VII.E.1.                                                                      0

          First Payments: General Unsecured Claims: Section VII.E.2.                                                      0

          Arrearages + First Payments: Secured Claims: Sections VII.F. – VII.G.                                           11,491

                                                  TOTAL TO BE PAID ON THE EFFECTIVE DATE:                                 6111,491


                               (2) SOURCE OF FUNDS ON THE EFFECTIVE DATE                                                      AMOUNT

          Cash on Hand:                                                                                                   100,000

          Contribution of Family Member NOT listed in Schedule J, Line 11:
                    Name (identify):                                            Gift        Loan

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          Loan or Line of Credit: Described above in:             V.A.(1)          V.A.(2)

          Sale of Property: Described above in:           V.B.(1)        V.B.(2)       V.B.(3)

          Adversary Proceeding Recovery: Described above in:                   V.C.(1)        V.C.(2)

          Other Sources:       (identify):

                                  TOTAL FUNDS AVAILABLE ON THE EFFECTIVE DATE:                                        100,000



          (3) CASH AVAILABLE AFTER PAYMENTS MADE ON THE EFFECTIVE DATE:                                               39,51888,509



    C. Payments During the Plan Term. This section demonstrates the Plan is feasible during the Plan Term.


               (1) REGULAR EXPENSES AND INCOME DURING THE PLAN
                                                                                                      Monthly         Total of Plan Term
               TERM
                                                                                                                      775,0201,730,245
                 Regular Expenses: Amount is from income and expense
                 projections attached hereto as Exhibit D Schedule J, Line 22c and
                 is for all expenses, including ongoing payments on secured claims
                 that are also listed below in sections VII.F – VII.G., but does not
                 include payment on administrative claims or U.S. Trustee fees.
                 Combined Monthly Income: Amount is from income and expense                                           3,082382,800
                 projections attached hereto as Exhibit D – includes employment
                 income; rental income. Schedule I, Line 12

                 NET INCOME DURING PLAN TERM: Schedule J, Line 23c                                                    2,307,7801,652,555


               (2) OTHER PAYMENTS TO BE MADE DURING THE PLAN TERM                                         Monthly        Plan Term

                 Arrearages on Impaired Secured Claims: Sections VII.F. – VII.G.                         17,0390         1,022,3400

                 Balloon Payments: Sections VII.F. – VII.G.                                                              $0

                 Unsecured Claims                                                                        10,000          30,000
                 * Administrative Expenses: Section VII.C.1.

                 * Unsecured Claims: Taxes, Other: Sections VII.C.2 and VII.D

                 * Unsecured Claims: General: Section VII.E.2.                                           22,366          1,341,977

                 TOTAL OF OTHER PAYMENTS MADE DURING THE PLAN TERM                                       49,405          2,394,317
                                                                                                                         1,371,977




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                (3) SOURCE OF FUNDS FOR OTHER PAYMENTS DURING THE PLAN
                                                                                                                       AMOUNT
                TERM

                  Cash After Payments Made on Effective Date: From Section VI.B.(3)                              39,51888,509

                  Net Income During Plan Term: It is possible this is a negative amount.                         2,607,7801,652,555
                  See above, section VI.C.(1), last line in the table, amount under “Plan Term”.
                  Contribution of Family Member NOT listed in Schedule I Line 11:
                      Name (identify):                                             Gift        Loan              $0

                  Loan or Line of Credit: Described above in:                V.A.(1)         V.A.(2)             $0

                  Sale of Property: Described above in:             V.B.(1)        V.B.(2)        V.B.(3)        29,030,000

                  Adversary Proceeding Recovery: Described above in:                          V.C.(1)            $0
                V.C.(2)

                  Other Source:         (identify):

                    TOTAL FUNDS FOR OTHER PAYMENTS DURING THE PLAN TERM                                          $31,677,29830,771,064

    D. Explanation of Risk Factors and Potential Fluctuations When Implementing the Plan.


                RISK FACTOR                                EXPLANATION OF RISK AND FLUCTUATIONS

              Employment/Business         As set forth in detail in the attached declaration and Debtor’s projected
                                          income and expenses chart, Debtor believes that he will be able to meet all of
              Sale of Property
                                          his financial obligations under the Plan. However, as the Plan contemplates
              Balloon Payment             payments to certain classes of creditors over time following the Effective
                                          Date, it is possible that, based on factors that are either not apparent at this
              Int. Rate Adjustment
                                          time or do not exist at this time, that Debtor will not have sufficient cash flow
                                          to pay all of the obligations created under the Plan. For this reason, the
                                          projections cannot be guaranteed to be completely accurate.
                                          Specifically, Debtor could experienceDebtor’s income as set forth in Exhibit D
                                          depends largely if not entirely on the profitability of his metal recycling
                                          business which might reduce the rent he actually collects from Central Metal,
                                          which would contribute. If that business is not profitable during this plan, the
                                          Debtor will have difficulty in making the proposed payments to a shortfall in
                                          cash flow.creditors.

                                          As set forth in detail in the attached declaration, Debtor believes that the
          Employment/Business             value of the Santa Fe Property is at least $25 million. But it is possible that
                                          he will not ultimately receive an offer of that amount and therefore there will
              Sale of Property
                                          be less proceeds to pay to the secured creditors out of the proceeds of the
              Balloon Payment             sale which will require larger payments to the creditors in the same period of
                                          time. The two properties the Debtor intends to sell may or may not have
              Int. Rate Adjustment        environmental issues which affect the sales prices and the timing to approve
                                          the sales. As to 24th Street, the Debtor had a buyer at $5.5 million which the
                                          court approved by Order entered on March 28, 2019 [Docket No. 116] but the
                                          sale has not closed because the buyer’s lender has concerns over the
                                          environmental condition of the property. As to Santa Fe, the EPA is in the
                                          process of investigating the issue of groundwater contamination on the
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                                            property based on a finding by the EPA that contiguous property known as
                                            the “Engle Property,” owned by an unrelated party. The EPA has finally
                                            begun drilling on the property and will issue its report hopefully by October or
                                            November, 2019. The testing is similar to a Phase 2 Site Assessment. The
                                            EPA investigation has completely chilled sales efforts and could continue to
                                            do resulting in offers considerably lower than the real value of the property.
                                            As to Santa Fe, the Debtor has received offers in the $20 to 21 million range
                                            but even those offers have conditions relating to environmental concerns.

              Other:

    E. TAX CONSEQUENCES OF THE PLAN.

        1. To the Debtor: Tax consequences to the Debtor are:

        Debtor does not anticipate that confirmation of the Plan will have a significant or material effect on his tax liability.
        He will stay current with tax obligations to the taxing agencies (IRS and FTB) and to the county in which his real
        properties are located. The Debtor does not expect to owe income taxes from the sale of the Santa Fe Property
        and 24th Street. The purchase price, and thus the tax, will be allocated between the Debtor and Central Metal,
        Inc.The sale by the Debtor of two of his properties will generate a taxable gain which must be paid as an
        administrative expense. As to 24th Street, the Debtor expects the allocation of the purchase price to be $1 million
        to him which is roughly his tax basis, and $4.5 million to Central Metal. As Central Metal has a large net operating
        loss, the tax consequences to it will be negligible. As to Santa Fe, the Debtor expects the allocation of the
        purchase price to be $7 million to him which is roughly his tax basis, and $18 million to Central Metal. Thus the
        administrative taxes arising from the sale will not be significant.

        2. To Claimants: Claimants should consult their advisors regarding potential tax effects of the Plan;
           nevertheless:

                Debtor believes tax consequences to claimants are:

                Debtor is not certain of tax consequences, because:

        Debtor makes no representations regarding the potential tax consequences to creditors as the Tax Code embodies
        many complicated rules that make it difficult to state completely and accurately all the tax implications of any action.

VII. PLAN PROVISIONS: TREATMENT OF CLAIMS

    A. DOMESTIC SUPPORT OBLIGATION THAT MUST BE PAID BEFORE PLAN IS CONFIRMED. [§ 1129(a)(14]
       Before the Plan can be confirmed, § 1129(a)(14) requires the Debtor to pay all domestic support obligations that
       became due after the bankruptcy case was filed. Domestic support obligations are defined in § 101(14A).

               The Debtor did not have domestic support obligations that became due after the bankruptcy case was filed.
               The following domestic support obligation became due after the bankruptcy case filed:

               Claimant:

                       Statute, Judicial Order, or                First Date After                Total Due              Date Final Amt
                       Administrative Order that                 Petition Date that                  After                 was paid
                        Creates the Obligation                  Obligation was Due               Petition Date             will be paid




              See Exhibit           for additional domestic support obligation(s) that must be paid before plan is confirmed.

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     B. ASSUMPTION AND REJECTION OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES. [§ 365]

1.                  There are no executory contracts or unexpired leases: The Debtor uses his properties in his metal
                    recycling business which in turn will pay him rent. on a month to month basis. At this time, there are no
                    written leases between himself and Central Metal, Inc. To the extent necessary, the Debtor will assume
                    these month to month tenancies.

        2.          Assumption. The post-confirmation debtor will perform all related obligations whether arising before or
                    after confirmation of the Plan. Any arrearages arising before confirmation of the Plan will be paid by the
                    first day of the month following the Effective Date unless the parties agree otherwise or the court finds
                    that a longer payment schedule still provides the creditor with timely cure and adequate assurance of
                    future performance. Obligations that arise after confirmation of the Plan will be paid as they come due.

                       Already Assumed:


                                                                                                                          CURE AMOUNT:
                               DESCRIPTION OF EXECUTORY CONTRACT                                   DATE: ORDER
                                                                                                                           Must be paid on
                                       OR UNEXPIRED LEASE                                           TO ASSUME
                                                                                                                            Effective Date
                       (a)                                                                                                $


                       (b)                                                                                                $


                       To be Assumed on the Effective Date.

                                                                                                                          CURE AMOUNT:
                             DESCRIPTION OF EXECUTORY CONTRACT OR UNEXPIRED LEASE
                                                                                                                           Must be paid on
                                                                                                                            Effective Date
                       (a)                                                                                                $


                       (b)                                                                                                $



        3.          Rejection. Claims arising from the rejection of an executory contract or unexpired lease are treated as
                    general unsecured claims in CLASS #2, except to the extent the court orders otherwise. A claim arising
                    from the rejection must be filed no later than 30 days after the date of the order confirming the Plan.

              DESCRIPTION OF EXECUTORY CONTRACT OR UNEXPIRED LEASE
              (a)                                                                     Rejected:         Order Entered on:
                                                                                                        Deemed Rejected on:
                                                                                      To be Rejected on the Effective Date

              (b)                                                                     Rejected:         Order Entered on:
                                                                                                        Deemed Rejected on:
                                                                                      To be Rejected on the Effective Date



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                 See Exhibit          for additional executory contracts and unexpired leases to be assumed or rejected.
.

    C. UNSECURED CLAIMS THAT MUST BE TREATED AS REQUIRED BY § 1129(a)(9)(A) and § 1129(a)(9)(C),
       UNLESS A CLAIMANT CONSENTS TO A DIFFERENT TREATMENT. §§ 1129(a)(9)(A) and (C) require that certain
       claims be treated one at a time, rather than as a class. Even if another claimant votes to accept a lesser treatment,
       the claims listed below are not altered. The debtor must prove to the court that claims are either being treated as
       1129(a)(9) requires, or that the claimant agreed to some other treatment.

        1. Administrative Expense Claims - § 507(a)(2) and § 1129(a)(9)(A). These include: (1) court-approved
          claims of attorneys and other professionals; and (2) United States trustee fees under 28 U.S.C. chapter 123.

                  The deadline to file administrative expensive claims is (date)                            .

                  There are no administrative expense claims.
                  All administrative expense claims   have been filed and/or  are anticipated to be filed, and the
                  claims and amounts indicated below are the amounts requested or anticipated to be requested:

              Claimant: U.S. Trustee*

                Claim Amount                            Amount                            Amount Paid After Effective Date
              (less paid to date)        Interest       Paid on
                                           Rate         Effective                                Each           Balloon       Term of
                 Actual
                                          (if any)        Date            Frequency             Payment         Pymts        Payments
                 Estimated

                                                                              Monthly
              $4,875                   N/A             Unknown                                 Unknown          None         N/A
                                                                              Quarterly




          *U.S. Trustee quarterly fees shall be paid until a final decree is entered or the case is dismissed or
          converted. Fees of the Office of the United States Trustee are not subject to Court approval and may be
          paid in the ordinary course of business when due.


              Claimant: Resnik Hayes Moradi LLP (“RHM”) [Debtor’s general bankruptcy counsel]**

                Claim Amount                            Amount                            Amount Paid After Effective Date
                                       Interest
              (less paid to date)                       Paid on
                                         Rate                             Frequency              Each           Balloon       Term of
                  Actual                                Effective
                                        (if any)                                                Payment         Pymts        Payments
                  Estimated                               Date

                                                       $50,000                Monthly
                                                       on the                 Quarterly
                                                       Effective                                                             5$10,000
                                                       Date (to                                                              per
              $80,000                  N/A             be paid                                 $10,000          N/A          month or
                                                       by                                                                    until paid
                                                       Central                                                               in full
                                                       Metal,
                                                       Inc.




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         InInIn the event there is a default by Debtor in his payment of fees to RHM, the firm will give him notice of
         the default by electronic mail and advise him that he has ten (10) days to cure the default.

         If Debtor does not cure within that time period, RHM will be permitted to accelerate the balance due at the
         time and enforce the order of this Court approving the fees by whatever means are available to it including
         the costs and expenses related to the recording of the order and costs of collection. RHM shall not be
         required to get any further approval of this Court for payments related to outstanding fees.

         RHM and Debtor are permitted to communicate and agree to payment of RHM’s administrative claim on an
         expedited basis, if the ability to pay arises

         2. Tax Claims - § 507(a)(8) and § 1129(a)(9)(C). Must be paid in full within 5 years after the Petition Date.

              There are no tax claims          All tax claims have been filed or scheduled, and are indicated below:


                Claimant: Internal Revenue Service (IRS)
                                                     Amount                            Amount Paid After Effective Date
                                   Interest
                     Claim                           Paid on
                                     Rate                                                     Each          Balloon        Term of
                    Amount                           Effective        Frequency
                                    (§ 511)                                                  Payment        Pymts         Payments
                                                       Date

                N/A



              See Exhibit        for additional unsecured claims (not listed in VII.C) on which voting is not allowed.

                 § 507(a)(2) – Administrative Expense Claims
                 § 507(a)(8) – Tax Claims
                 § 507(a)(3) – Involuntary Gap Claims Allowed Under § 502(f)

  D. UNSECURED CLAIMS THAT MUST BE TREATED AS REQUIRED BY § 1129(a)(9)(B) – CLASS #1.
     § 1129(a)(9)(B) requires certain unsecured claims to be treated with priority over general unsecured claims, and
     pay them in full on the Effective Date or as soon as practicable after unless claimants vote as a class to accept
     deferred payments. If so, claims are impaired and claimants are entitled to vote to accept or reject the Plan.

              There are no claims in CLASS #1.

              CLASS #1a: § 507(a)(1) - Domestic Support Obligation Claims Due Before Bankruptcy Case Was Filed


                Claimant:

                    Claim          Interest          Amount                            Amount Paid After Effective Date
                   Amount            Rate            Paid on
                (less amount                         Effective                                Each             Balloon     Term of
                                    (if any)                          Frequency              Payment           Pymts      Payments
                paid to date)                          Date

                                                                           Monthly
                $                         %         $                                       $              $
                                                                           Quarterly                                      months

              See Exhibit        for additional unsecured claims (not listed above) in Class #1:
                 CLASS #1(a): § 507(a)(1) - Domestic Support Obligation Claims (claims that are not listed above)
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                   CLASS #1(b): § 507(a)(4) - Wage and Commission Claims
                   CLASS #1(c): § 507(a)(5) – Employee Benefit Plan Contribution Claims
                   CLASS #1(d): § 507(a)(6) – Grain Producer and Fisherman Claims
                   CLASS #1(e): § 507(a)(7) – Consumer Deposit Claims

  E. OTHER UNSECURED CLAIMS – CLASS #2.

          There are no claims in CLASS #2.

          As of this date, all CLASS #2 claims are included in Exhibit B.

          1.         CLASS #2a: Nominal Unsecured Claims. These include “nominal” claims of $               or less, and
                     any larger unsecured claims whose claimant agreed to reduce its claim to this amount. Claimants are
                     not entitled to vote to accept or reject the Plan.

                     Claimants will be paid the nominal amount on the Effective Date, or as soon as practicable thereafter.
                     Estimated total payments are $         .

              2.     CLASS #2b: General unsecured claims. These are unsecured claims not included in CLASS #2a, and
                     will be paid as follows. Claimants are entitled to vote to reject or accept the Plan.

                         Percent Plan. Each claimant in CLASS #2b will be paid 100% of its claim beginning the first
                         relevant date after the Effective Date:

                         a. Over 5 years in equal    monthly    quarterly installments, due on the first day of each
                            calendar month/quarter; beginning on the fourth month after the Effective Date.

                         b.        with interest at the rate of              % per annum, or          without interest; and.

                         c.     The amount each claimant receives depends on the total amount of allowed claims in this class.

                         Pot Plan. Each member of CLASS #2b will be paid a pro rata share of a fund totaling $N/A created
                         by the Debtor’s payment:

                         a. Pro rata means the entire fund amount divided by the total of all allowed claims in this class.

                         b. Payment amount is $19,500_______ per                       month        quarter for a period of 36
                             months/quarters,

                              c. Payments will begin on (date): first day of the month following the Effective Date.

                          Other: If the Debtor is able to sell Santa Fe Property for $25 million and closes the sale of 24th
                   Street at $5.5 million and the sales have no tax consequences to the Debtor, the Debtor estimates that
                   after closing costs, he will have net proceeds of $3,212,500. The Debtor will use those funds to pay the
                   unsecured class, Class 2b. $30,500,000 less selling costs of 4% or $1,220,000, less Hyundai of
                   $22,300,000 less the junior lienholders of $3,767,500, less property taxes of $634,000 leaves a net to the
                   Debtor of $2,578,500. The Plan proposes that the Debtor will pay the Class 2b claims over 5 years in
                   case the two properties are sold with no funds left over for unsecured creditors.           Other:


  F. CLAIMS SECURED BY DEBTOR’S PRINCIPAL RESIDENCE (“Residence”) – CLASS #3 and CLASS #4.


                    Address of Residence: None


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                    Value              Valuation           Order on motion or stipulation            Declaration: Certified appraiser
                                       Method              Declaration: Debtor as owner              Other:
                    N/A


          CLASS #3 - Unimpaired Claims. Claimants are not entitled to vote to accept or reject the Plan. Until claims
          are fully paid, claimants retain their interest in the Residence. Treatment is:

               There are no claims in Class #3.

                   CLASS #3a        Claimant:



                   Current      Lien            Interest        Unpaid Principal                                          Total Amount of
                                                                                               Arrearages
                   Status      Priority           Rate             Balance                                                 Allowed Claim
                   of Loan
                                                      %                 $                        $                           $

              1.      Payments to Claimant

                          a.    Arrearages         Must be Paid by the Effective Date                Total Amount = $


                          b.                                                 Escrowed Amounts
                                                Principal +                                                      Amount Each Monthly
                          Ongoing                Interest                                                         Ongoing Payment
                          Payments                                          Taxes             Insurance

                                            $                       $                     $                      $


                          c.    Balloon Payment                Amount = $                            Date of Payment:


              2.      Surrender:      Date:                Method:      Deed in lieu of foreclosure
                                         Effective Date       Consent to relief from stay to allow foreclosure
                                         Other:                   Grant deed
                                                                        Other:
CLASS #4 - Impaired Claims. Claimants are entitled to vote to accept or reject the Plan. Until claims are fully paid,
claimants retain their interest in collateral securing the debt. Treatment is:

              There are no claims in CLASS #4.

                   CLASS #4a        Claimant: None

                   Current      Lien            Interest        Unpaid Principal                                          Total Amount of
                                                                                               Arrearages
                   Status      Priority           Rate             Balance                                                 Allowed Claim
                   of Loan


              1.      Payments to Claimant

                                            Total Amount            Amt Paid on               Amounts Paid After Effective Date

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                                          of Arrearages          Effective Date
                                                                                       Frequency          Int. Rate     Amt each Pymt
                       a.
                       Arrearages                                                          Monthly
                                                                                           Quarterly



                       b.                    Principal +                   Escrowed Amounts                    Amount Each Monthly
                                              Interest                                                          Ongoing Payment
                       Ongoing                                          Taxes               Insurance
                       Payments




                                                                     Until Arrearages Cured                  After Arrearages Cured
                       c.      Total Monthly Payment:




                       d.      Balloon Payment               Amount = $                           Date of Payment:


              2.     Sale by (date):               .     Proceeds:          are likely to be sufficient to pay the secured claim
                                                                            are not likely to be sufficient to pay the secured claim,
                                                                            and any resulting claim will be in CLASS #2b

              3.     Treat Claim as Fully Unsecured: Pay as a general unsecured claim under CLASS #2b

              4.     Other:

  G. CLAIMS SECURED BY PROPERTY OTHER THAN RESIDENCE – CLASS #5 and CLASS #6.

      CLASS #5 - Unimpaired Claims. Claimants are not entitled to vote to accept or reject the Plan. Until claims are
      fully paid, claimants retain their interest in the property securing the claim. Treatment is:

          There are no claims in CLASS #5.


                   CLASS #5a      Claimant: Wells Fargo Auto




                   Address of Real Property 5a:

                   Description of Personal Property 5a:

                   Vehicle 5a        2017              Honda Rodgeline           Model:                         VIN:

                   Value:            Valuation            Order on motion or stipulation           Declaration: Certified appraiser
                   $25,000           Method               Declaration: Debtor as owner             Other:




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                   Current     Lien           Interest         Unpaid Principal                                          Total Amount of
                                                                                                Arrearages
                   Status     Priority          Rate              Balance                                                 Allowed Claim
                   of Loan
                              1st                            $29,658                       $      $0               $29,658



              1.       Payments to Claimant


                         a.    Arrearages          Must be Paid by the Effective Date                   Total Amount = $




                         b.                   Principal +                   Escrowed amounts                     Amount Each Monthly
                                               Interest                                                           Ongoing Payment
                         Ongoing                                        Taxes                  Insurance
                         Payments
                                           $800                    $                   $                        $800



                         c.    Balloon Payment                Amount = $                            Date of Payment:


              2.       Surrender:                 Method:         Deed or certificate of title in lieu of foreclosure
                       Date:                                      Consent to relief from stay to allow foreclosure or repossession
                          Effective Date                          Grant deed
                          Other:                                  Other:



        CLASS #6 - Impaired Claims. Claimants are entitled to vote to accept or reject the Plan. Until claims are fully
        paid, claimants retain their interest in the property securing the claim. Treatment is:

              There are no claims in CLASS #6.


                   CLASS #6a        Claimant: Hyundai Steel Company



                    Address of Real Property 6a: 8201 Santa Fe Ave., Huntington Park, CA 90255; 2203 S. Alameda St.,
                    Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles,
                    CA 90058

                    Description of Personal Property 6a:

                                                                                     Model:
                    Vehicle 6a        Year:            Make:                                                    VIN:

                    Value:            Valuation            Order on motion or stipulation              Declaration: Certified appraiser
                    $36,700,000       Method               Declaration: Debtor as owner                Other:



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                                   Lien           Interest           Unpaid Principal                                     Total Amount of
                    Current                                                                      Arrearages
                                  Priority          Rate                Balance                                            Allowed Claim
                    Status
                    of Loan
                                  1st           9%               $22,114,555                  $N/A                       $22,114,555

                     Terms of
                   New Loan


              1.       Payments to Claimant

                                           Total Amount            Amt Paid on               Amounts Paid After Effective Date
                        a.
                                           of Arrearages          Effective Date
                        Arrearages                                                      Frequency            Int. Rate     Amt Each Pymt
                                           $                     $                          Monthly                        $
                                                                                            Quarterly


                        b.   Ongoing                 Principal +                   Escrowed amounts                      Amt Each Monthly
                        Payments                      Interest                                                           Ongoing Payment
                                                                                  Taxes              Insurance
                           current loan
                           rewritten loan


                                                                        Until Arrearages Cured                  After Arrearages Cured
                        c.      Total Monthly Payment:
                                                                 $                                       $



                                                             current loan
                        d.      Balloon Payment                                   Amount: $                     Payment Date:
                                                             rewritten loan

              2.       Sale by (date): 12/131/2019.           Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                are not likely to be sufficient to pay the secured claim,
                                                                                any resulting claim will be in CLASS #2b

              3.       Treat Claim as Fully Unsecured: Pay as a general unsecured claim under CLASS #2b

           4.      Other: Sale of 8201 Santa Fe Ave., Huntington Park, CA 90255 and 1736 24th Street, Los Angeles,
CA 90058. See Declaration of Jong Uk Byun for further details. The liens will remain until paid in full. The Debtor has
been paying Hyundai adequate protection payments of $35,000 per month since January, 2019. He will continue to make
those payments until the debt has been paid in full. If the Debtor has not paid this debt in full by December 31, 2019,
Hyundai may proceed with its non-bankruptcy rights with no actual foreclosure sale before January 31, 2020.




                   CLASS #6b       Claimant: Packo Investments



                    Address of Real Property 6b: 8201 Santa Fe Ave., Huntington Park, CA 90255; 2203 S. Alameda St.,
                    Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles,
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                    CA 90058, 1770 E. 22nd St, Los Angeles, CA 90058; 144 & 146 S. “G” Street, San Bernardino, CA
                    92410

                    Description of Personal Property 6b:

                    Vehicle 6b        Year:            Make:                         Model:                     VIN:

                    Value:            Valuation            Order on motion or stipulation           Declaration: Certified appraiser
                    $37,850,000       Method               Declaration: Debtor as owner             Other:

                                   Lien          Interest            Unpaid Principal                                  Total Amount of
                                                                                                Arrearages
                    Current       Priority         Rate                 Balance                                         Allowed Claim
                    Status
                    of Loan                    20.0%
                                  2nd                           $2 million                   N/A                    $2 million
                                               (fixed)

                     Terms of
                   New Loan

              1.       Payments to Claimant

                                           Total Amount            Amt Paid on               Amounts Paid After Effective Date
                        a.
                                           of Arrearages          Effective Date
                        Arrearages                                                      Frequency            Int. Rate     Amt Each Pymt
                                                                                            Monthly
                                           $                     $                                                         $
                                                                                            Quarterly


                        b.     Ongoing               Principal +                   Escrowed amounts                      Amt Each Monthly
                               Payments               Interest                    Taxes               Insurance          Ongoing Payment
                             current loan
                             rewritten loan


                                                                        Until Arrearages Cured                  After Arrearages Cured
                        c.      Total Monthly Payment:
                                                                 $                                       $


                                                             current loan
                        d.      Balloon Payment                                  Amount: $                      Payment Date:
                                                             rewritten loan


              2.       Sale by (date): 12/131/2019.           Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                are not likely to be sufficient to pay the secured claim,
                                                                                any resulting claim will be in CLASS #2b

              3.       Treat Remainder

             4.        Other: Sale of 8201 Santa Fe Ave., Huntington Park, CA 90255. See Declaration of Jong Uk Byun
for further details. The liens will remain until paid in full. If the Debtor has not paid this debt in full by December 31, 2019,
Packo Investments may proceed with its non-bankruptcy rights with no actual foreclosure sale before January 31, 2020.

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                   CLASS #6c       Claimant: BAE Family Trust dated 8/6/2015, c/o Packo Investments, Inc.



                    Address of Real Property 6b: 8201 Santa Fe Ave., Huntington Park, CA 90255; 2203 S. Alameda St.,
                    Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles,
                    CA 90058, 1770 E. 22nd St, Los Angeles, CA 90058; 144 & 146 S. “G” Street, San Bernardino, CA
                    92410

                    Description of Personal Property 6b:

                    Vehicle 6b        Year:            Make:                         Model:                     VIN:

                    Value:            Valuation            Order on motion or stipulation           Declaration: Certified appraiser
                    $37,850,000       Method               Declaration: Debtor as owner             Other:

                                   Lien          Interest            Unpaid Principal                                  Total Amount of
                                                                                                Arrearages
                    Current       Priority         Rate                 Balance                                         Allowed Claim
                    Status
                    of Loan                     20.0%
                                  3rd                           $1,290,000                   N/A                    $1,290,000
                                                (fixed)

                     Terms of
                   New Loan

              1.       Payments to Claimant

                                           Total Amount            Amt Paid on               Amounts Paid After Effective Date
                        a.
                                           of Arrearages          Effective Date
                        Arrearages                                                      Frequency            Int. Rate     Amt Each Pymt
                                                                                            Monthly
                                           $                     $                                                         $
                                                                                            Quarterly


                        b.     Ongoing               Principal +                   Escrowed amounts                      Amt Each Monthly
                               Payments               Interest                    Taxes               Insurance          Ongoing Payment
                             current loan
                             rewritten loan



                                                                        Until Arrearages Cured                  After Arrearages Cured
                        c.      Total Monthly Payment:
                                                                 $                                       $


                                                             current loan
                        d.      Balloon Payment                                  Amount: $                      Payment Date:
                                                             rewritten loan


              2.       Sale by (date): 12/131/2019.           Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                are not likely to be sufficient to pay the secured claim,
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                                                                                     any resulting claim will be in CLASS #2b

              3.       Treat Remainder

                                                                               4.       Other: Sale of 8201 Santa Fe Ave., Huntington
        Park, CA 90255                                                               are not likely to be sufficient to pay the secured claim,
                                                                                     any resulting claim will be in CLASS #2b

              3.       Treat Remainder

             4.       Other: Sale of 8201 Santa Fe Ave., Huntington Park, CA 90255. Liens will remain until paid in full. If
the Debtor has not paid this debt in full by December 31, 2019, BAE Family Trust may proceed with its non-bankruptcy
rights with no actual foreclosure sale before January 31, 2020.




                   CLASS #6d       Claimant: M&A Equities, LLC c/o Packo Investments, Inc.



                    Address of Real Property 6b: 144 & 146 S. “G” Street, San Bernardino, CA 92410; 24399 Old
                    Highway 58, Hinkley, CA 92347

                    Description of Personal Property 6b:

                    Vehicle 6b       Year:             Make:                            Model:                 VIN:

                    Value:           Valuation             Order on motion or stipulation             Declaration: Certified appraiser
                    $1,400,000       Method                Declaration: Debtor as owner               Other:

                                   Lien          Interest         Unpaid Principal                                    Total Amount of
                                                                                                  Arrearages
                    Current       Priority         Rate              Balance                                           Allowed Claim
                    Status
                    of Loan                    18.0%
                                  1st                           $900,000                       N/A                  $900,000
                                               (fixed)
                                                                         $900,000
                        Terms     1st          10%
                   of New
                   Loan

              1.       Payments to Claimant

                                           Total Amount            Amt Paid on                 Amounts Paid After Effective Date
                        a.
                                           of Arrearages          Effective Date
                        Arrearages                                                         Frequency        Int. Rate      Amt Each Pymt
                                                                                              Monthly
                                           $                     $                                                         $
                                                                                              Quarterly


                        b.     Ongoing               Principal +                       Escrowed amounts                  Amt Each Monthly
                               Payments               Interest                        Taxes             Insurance        Ongoing Payment
                             current loan
                             rewritten loan     $900,000                       -0-                   -0-                 $4,8318,000.00


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                                                                        Until Arrearages Cured                After Arrearages Cured
                        c.      Total Monthly Payment:
                                                                 $                                       $


                                                            current loan
                        d.    Balloon                                            Amount: $                    Payment Date:
                        Payment                               rewritten           $900,000                     12/31/2021
                                                         loan


              2.       Sale by (date):                        Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                are not likely to be sufficient to pay the secured claim,
                                                                                any resulting claim will be in CLASS #2b

              3.       Treat Remainder

             4.      Other: 4.        Other: Paid in full with allowed pre-and post-petition interest, and post-Effective Date
interest at 10% annual interest, with payments of $8,000 per month and a balloon due on the 24th month after the
Effective Date but in no event later than December 31, 2021. Liens will remain until paid in full. In the event of
foreclosure, M&A may, but is not obligated, to provide the Debtor a lease back at market terms. The Debtor has been
paying M&A adequate protection payments of $8,000 per month since January, 2019. He will continue to make those
payments until the debt has been paid in full. Debtor expects to pay the balloon payment through a refinance or a sale of
the properties.



                   CLASS #6e       Claimant: Mohamed Sanfaz



                    Address of Real Property 6b: 8201 Santa Fe Ave., Huntington Park, CA 90255; 2203 S. Alameda St.,
                    Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles,
                    CA 90058, 1770 E. 22nd St, Los Angeles, CA 90058; 144 & 146 S. “G” Street, San Bernardino, CA
                    92410

                    Description of Personal Property 6b:

                    Vehicle 6b        Year:            Make:                         Model:                    VIN:

                    Value:            Valuation            Order on motion or stipulation           Declaration: Certified appraiser
                    $37,850,000       Method               Declaration: Debtor as owner             Other:

                                   Lien          Interest            Unpaid Principal                                 Total Amount of
                                                                                                Arrearages
                    Current       Priority         Rate                 Balance                                        Allowed Claim
                    Status
                    of Loan                    20.0%
                                  4th                           $500,000                     N/A                    $500,000
                                               (fixed)

                     Terms of
                   New Loan

              1.       Payments to Claimant

                                           Total Amount              Amt Paid on             Amounts Paid After Effective Date
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                                          of Arrearages          Effective Date
                                                                                       Frequency            Int. Rate     Amt Each Pymt
                       a.
                                                                                           Monthly
                       Arrearages         $                     $                                                         $
                                                                                           Quarterly


                       b.     Ongoing               Principal +                   Escrowed amounts                      Amt Each Monthly
                              Payments               Interest                    Taxes               Insurance          Ongoing Payment
                            current loan
                            rewritten loan



                                                                       Until Arrearages Cured                  After Arrearages Cured
                       c.      Total Monthly Payment:
                                                                $                                       $


                                                            current loan
                       d.      Balloon Payment                                  Amount: $                      Payment Date:
                                                            rewritten loan


              2.      Sale by (date): 12/131/2019.           Proceeds:         are likely to be sufficient to pay the secured claim
                                                                               are not likely to be sufficient to pay the secured claim,
                                                                               any resulting claim will be in CLASS #2b

              3.      Treat Remainder

                                                                  4.     Other: Sale of 8201 Santa Fe Ave., Huntington
        Park, CA 90255. Liens remain until paid in full. If the Debtor has not paid this debt in full by December 31, 2019,
        Mr. Sanfaz may proceed with his non-bankruptcy rights with no actual foreclosure sale before January 31, 2020.
                                                                     are not likely to be sufficient to pay the secured claim,
                                                                     any resulting claim will be in CLASS #2b

              3.      Treat Remainder

              4.      Other: Sale of 8201 Santa Fe Ave., Huntington Park, CA 90255



                   CLASS #6f      Claimant: Allen Park



                   Address of Real Property 6b: 8201 Santa Fe Ave., Huntington Park, CA 90255; 2203 S. Alameda St.,
                   Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles,
                   CA 90058, 1770 E. 22nd St, Los Angeles, CA 90058; 144 & 146 S. “G” Street, San Bernardino, CA
                   92410

                   Description of Personal Property 6b:

                   Vehicle 6b        Year:            Make:                         Model:                     VIN:

                   Value:            Valuation            Order on motion or stipulation           Declaration: Certified appraiser
                   $37,850,000       Method               Declaration: Debtor as owner             Other:

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                                   Lien         Interest            Unpaid Principal                                Total Amount of
                                                                                               Arrearages
                    Current       Priority        Rate                 Balance                                       Allowed Claim
                    Status
                    of Loan                    20.0%
                                  4th                          $100,000                     N/A                    $100,000
                                               (fixed)

                     Terms of
                   New Loan

              1.       Payments to Claimant

                                          Total Amount            Amt Paid on               Amounts Paid After Effective Date
                        a.
                                          of Arrearages          Effective Date
                        Arrearages                                                     Frequency            Int. Rate     Amt Each Pymt
                                                                                           Monthly
                                          $                     $                                                         $
                                                                                           Quarterly


                        b.     Ongoing              Principal +                   Escrowed amounts                      Amt Each Monthly
                               Payments              Interest                    Taxes               Insurance          Ongoing Payment
                             current loan
                             rewritten loan


                                                                       Until Arrearages Cured                  After Arrearages Cured
                        c.      Total Monthly Payment:
                                                                $                                       $


                                                            current loan
                        d.      Balloon Payment                                 Amount: $                      Payment Date:
                                                            rewritten loan


              2.       Sale by (date): 12/131/2019.          Proceeds:         are likely to be sufficient to pay the secured claim
                                                                               are not likely to be sufficient to pay the secured claim,
                                                                               any resulting claim will be in CLASS #2b

              3.       Treat Remainder

                                                                  4.     Other: Sale of 8201 Santa Fe Ave., Huntington
        Park, CA 90255. Liens remain until paid in full. If the Debtor has not paid this debt in full by December 31, 2019,
        Mr. Park may proceed with his non-bankruptcy rights with no actual foreclosure sale before January 31, 2020.
                                                                     are not likely to be sufficient to pay the secured claim,
                                                                     any resulting claim will be in CLASS #2b

              3.       Treat Remainder

              4.       Other: Sale of 8201 Santa Fe Ave., Huntington Park, CA 90255



                   CLASS #6g       Claimant: Kap Chan Chong


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                    Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles,
                    CA 90058, 1770 E. 22nd St, Los Angeles, CA 90058; 144 & 146 S. “G” Street, San Bernardino, CA
                    92410

                    Description of Personal Property 6b:

                    Vehicle 6b       Year:             Make:                           Model:                    VIN:

                    Value:           Valuation            Order on motion or stipulation            Declaration: Certified appraiser
                    $1 million       Method               Declaration: Debtor as owner              Other:

                                    Lien         Interest         Unpaid Principal                                      Total Amount of
                                                                                                 Arrearages
                    Current        Priority        Rate              Balance                                             Allowed Claim
                    Status
                    of Loan                    20.0%
                                  6th                           $98,114                       N/A                    $98,114
                                               (fixed)

                      Terms
                   of New
                   Loan

              1.       Payments to Claimant

                                           Total Amount            Amt Paid on                Amounts Paid After Effective Date
                         a.
                                           of Arrearages          Effective Date
                         Arrearages                                                       Frequency           Int. Rate     Amt Each Pymt
                                                                                             Monthly
                                           $                     $                                                          $
                                                                                             Quarterly


                         b.                          Principal +                      Escrowed amounts                    Amt Each Monthly
                              Ongoing                 Interest                       Taxes             Insurance          Ongoing Payment
                              Payments
                            current loan        $98,114                        -0-                  -0-                   $1,040
                              rewritten
                         loan


                                                                        Until Arrearages Cured                   After Arrearages Cured
                         c.      Total Monthly Payment:
                                                                 $                                        $


                                                             current loan
                         d.      Balloon Payment                                     Amount: $                   Payment Date:
                                                             rewritten loan


            2.                                                Sale by (date): 12/31/2019. Proceeds:                  are likely to be sufficient
to pay the secured claim
         .  Proceeds:                                             are likely to be sufficient to pay the secured claim
                                                                                are not likely to be sufficient to pay the secured claim,
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                                                                                any resulting claim will be in CLASS #2b

              3.       Treat Remainder

              4.       Other:

              4.       Other: Paid in full upon closing from proceeds of real property sales that are provided for in the Plan.



                   CLASS #6h       Claimant: Soo Yeong Kim and Yeon Shim Song



                    Address of Real Property 6b: 8201 Santa Fe Ave., Huntington Park, CA 90255; 2203 S. Alameda St.,
                    Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles,
                    CA 90058, 1770 E. 22nd St, Los Angeles, CA 90058; 144 & 146 S. “G” Street, San Bernardino, CA
                    92410

                    Description of Personal Property 6b:

                    Vehicle 6b        Year:            Make:                         Model:                      VIN:

                    Value:            Valuation            Order on motion or stipulation           Declaration: Certified appraiser
                    $37,850,000       Method               Declaration: Debtor as owner             Other:

                                   Lien           Interest           Unpaid Principal                                   Total Amount of
                                                                                                Arrearages
                    Current       Priority          Rate                Balance                                          Allowed Claim
                    Status
                    of Loan                     10%
                                  4th                            $83,229                     N/A                    $83,229
                                                (Judgment)

                     Terms of
                   New Loan

              1.       Payments to Claimant

                                           Total Amount            Amt Paid on               Amounts Paid After Effective Date
                        a.
                                           of Arrearages          Effective Date
                        Arrearages                                                      Frequency            Int. Rate     Amt Each Pymt
                                                                                            Monthly
                                           $                     $                                                         $
                                                                                            Quarterly


                        b.     Ongoing               Principal +                   Escrowed amounts                      Amt Each Monthly
                               Payments               Interest                    Taxes               Insurance          Ongoing Payment
                             current loan
                             rewritten loan


                                                                        Until Arrearages Cured                  After Arrearages Cured
                        c.      Total Monthly Payment:
                                                                 $                                       $


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                                                             current loan
                        d.      Balloon Payment                                  Amount: $                    Payment Date:
                                                             rewritten loan


            2.     Sale by (date): 12/131/2019.               Proceeds:        are likely to be sufficient to pay the secured claim
        /2019. Proceeds:                                         are likely to be sufficient to pay the secured claim
                                                                               are not likely to be sufficient to pay the secured claim,
                                                                               any resulting claim will be in CLASS #2b

              3.       Treat Remainder

             4.     Other: Sale of 8201 Santa Fe Ave., Huntington Park, CA 90255. Liens remain until paid in full. If the
Debtor has not paid this debt in full by December 31, 2019, claimants may proceed with their non-bankruptcy rights with
no actual foreclosure sale before January 31, 2020.




                   CLASS #6i       Claimant: Deutsche BankToni Ko



                    Address of Real Property 6b: 8201 Santa Fe Ave., Huntington Park, CA 90255; 2203 S. Alameda St.,
                    Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles,
                    CA 90058

                    Description of Personal Property 6b:

                    Vehicle 6b        Year:            Make:                         Model:                    VIN:

                    Value:            Valuation            Order on motion or stipulation           Declaration: Certified appraiser
                    $36,700,000       Method               Declaration: Debtor as owner             Other:

                                   Lien           Interest           Unpaid Principal                                 Total Amount of
                                                                                                Arrearages
                    Current       Priority          Rate                Balance                                        Allowed Claim
                    Status
                    of Loan                     10.0%
                                  5th                            $943,000                    N/A                    $943,000
                                                (judgment)

                     Terms of
                   New Loan

              1.       Payments to Claimant

                                           Total Amount            Amt Paid on               Amounts Paid After Effective Date
                        a.
                                           of Arrearages          Effective Date
                        Arrearages                                                      Frequency          Int. Rate       Amt Each Pymt
                                                                                            Monthly
                                           $                     $                                                         $
                                                                                            Quarterly


                        b.      Ongoing              Principal +                   Escrowed amounts                      Amt Each Monthly
                                Payments              Interest                    Taxes               Insurance          Ongoing Payment


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                              current loan
                              rewritten loan


                                                                        Until Arrearages Cured                  After Arrearages Cured
                        c.      Total Monthly Payment:
                                                                 $                                       $


                                                             current loan
                        d.      Balloon Payment                                  Amount: $                      Payment Date:
                                                             rewritten loan


              2.       Sale by (date): 12/31/2019.            Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                are not likely to be sufficient to pay the secured claim,
                                                                                any resulting claim will be in CLASS #2b

              3.       Treat Remainder

             4.      Other: Sale of 8201 Santa Fe Ave., Huntington Park, CA 90255. Liens remain until paid in full. If the
Debtor has not paid this debt in full by December 31, 2019, claimant may proceed with his non-bankruptcy rights with no
actual foreclosure sale before January 31, 2020.




                   CLASS #6j        Claimant: Deutsche Bank



                    Address of Real Property 6b: 1770 E. 22nd St, Los Angeles, CA 90058

                    Description of Personal Property 6b:

                    Vehicle 6b          Year:          Make:                        Model:                      VIN:

                    Value:              Valuation          Order on motion or stipulation           Declaration: Certified appraiser
                    $150,000            Method             Declaration: Debtor as owner             Other:

                                    Lien          Interest        Unpaid Principal                                     Total Amount of
                    Current                                                                     Arrearages
                                   Priority         Rate             Balance                                            Allowed Claim
                    Status
                    of Loan
                                  1st                           $221,000                     N/A                    $221,000

                      Terms
                   of New
                   Loan

              1.       Payments to Claimant

                                            Total Amount           Amt Paid on               Amounts Paid After Effective Date
                        a.
                                            of Arrearages         Effective Date
                                                                                        Frequency            Int. Rate    Amt Each Pymt

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                       Arrearages                                                            Monthly
                                          $                     $                                                         $
                                                                                             Quarterly


                       b.     Ongoing               Principal +                       Escrowed amounts                  Amt Each Monthly
                              Payments               Interest                        Taxes             Insurance        Ongoing Payment
                            current loan
                            rewritten loan     $221,000                       -0-                   -0-                 $1,186



                                                                       Until Arrearages Cured                 After Arrearages Cured
                       c.      Total Monthly Payment:
                                                                $                                         $


                                                            current loan
                       d.      Balloon Payment                                      Amount: $                 Payment Date:
                                                            rewritten loan


              2.      Sale by (date): .                      Proceeds:              are likely to be sufficient to pay the secured claim
                                                                                    are not likely to be sufficient to pay the secured claim,
                                                                                    any resulting claim will be in CLASS #2b

              3.      Treat Remainder

              4.      Other:



              4.      Other: Debt to be paid in full at 5% interest for 30 years. Creditor will retain its lien until paid in full.



                  CLASS           Claimant: Los Angeles County Property Tax Assessor
              #6j6k



                   Address of Real Property 6a: 8201 Santa Fe Ave., Huntington Park, CA 90255; 2203 S. Alameda St.,
                   Los Angeles, CA 90058; 1736 24th Street, Los Angeles, CA 90058; 2445 S. Alameda St., Los Angeles,
                   CA 90058; 1770 E. 22nd St, Los Angeles, CA 90058

                   Description of Personal Property 6a:

                                                                                       Model:
                   Vehicle 6a        Year:            Make:                                                   VIN:

                   Value:            Valuation            Order on motion or stipulation             Declaration: Certified appraiser
                   $36,850,000       Method               Declaration: Debtor as owner               Other:


                   Current
                                  Lien           Interest           Unpaid Principal                                     Total Amount of
                   Status                                                                         Arrearages
                                 Priority          Rate                Balance                                            Allowed Claim
                   of Loan

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                                  1st           18%              $884,767                     $N/A                       $884,767

                     Terms of
                   New Loan


              1.       Payments to Claimant

                                           Total Amount            Amt Paid on               Amounts Paid After Effective Date
                        a.
                                           of Arrearages          Effective Date
                        Arrearages                                                      Frequency            Int. Rate     Amt Each Pymt
                                           $                     $                          Monthly                        $
                                                                                            Quarterly


                        b.   Ongoing                  Principal +                  Escrowed amounts                      Amt Each Monthly
                        Payments                       Interest                                                          Ongoing Payment
                                                                                  Taxes              Insurance
                           current loan
                           rewritten loan       250,000 (est)                                                            $250,000


                                                                        Until Arrearages Cured                  After Arrearages Cured
                        c.      Total Monthly Payment:
                                                                 $6,348                                  $


                                                             current loan
                        d.      Balloon Payment                                   Amount: $                     Payment Date:
                                                             rewritten loan

              2.       Sale by (date): 12/131/2019.           Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                are not likely to be sufficient to pay the secured claim,
                                                                                any resulting claim will be in CLASS #2b

              3.       Treat Claim as Fully Unsecured: Pay as a general unsecured claim under CLASS #2b

            4.       Other: Sale of 8201 Santa Fe Ave., Huntington Park, CA 90255 and 1736 24th Street, Los Angeles,
CA 90058. $634,000 of property taxes to be paid from sale of above two properties, remainder to be paid over five years
from the petition date at governmental interest rate. of 18%.


                 CLASS             Claimant: San Bernardino Property Tax Assessor
              #6k6l



                    Address of Real Property 6a: 144 & 146 S. “G” Street, San Bernardino, CA 92410

                    Description of Personal Property 6a:

                                                                                     Model:
                    Vehicle 6a       Year:             Make:                                                    VIN:




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                    Value:             Valuation          Order on motion or stipulation            Declaration: Certified appraiser
                    $1 million         Method             Declaration: Debtor as owner              Other:


                                    Lien           Interest          Unpaid Principal                                     Total Amount of
                    Current                                                                      Arrearages
                                   Priority          Rate               Balance                                            Allowed Claim
                    Status
                    of Loan
                                   1st          18%              $143,111                     $N/A                       $884,767

                     Terms of
                   New Loan


              1.       Payments to Claimant

                                           Total Amount            Amt Paid on               Amounts Paid After Effective Date
                         a.
                                           of Arrearages          Effective Date
                         Arrearages                                                     Frequency            Int. Rate     Amt Each Pymt
                                           $                     $                          Monthly                        $
                                                                                            Quarterly


                         b.   Ongoing                 Principal +                  Escrowed amounts                      Amt Each Monthly
                         Payments                      Interest                                                          Ongoing Payment
                                                                                  Taxes              Insurance
                            current loan
                            rewritten loan      $143,111                                                                 $143,1113,634


                                                                        Until Arrearages Cured                  After Arrearages Cured
                         c.      Total Monthly Payment:
                                                                 $3,634                                  $



                                                              current loan
                         d.      Balloon Payment                                  Amount: $                     Payment Date:
                                                              rewritten loan

              2.       Sale by (date): 12/1/2019.             Proceeds:         are likely to be sufficient to pay the secured claim
                                                                                are not likely to be sufficient to pay the secured claim,
                                                                                any resulting claim will be in CLASS #2b

              3.       Treat Claim as Fully Unsecured: Pay as a general unsecured claim under CLASS #2b

             4.       Other:      4.     Other: Taxes to be paid over five years from the petition date at governmental
interest rate of 18%.




       See Exhibit            for more impaired secured claims on non-Residence property. Label as Class #6e, etc.



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VIII. Unclaimed or Undeliverable Plan Distributions. Payments or other distributions made under the Plan
      that are unclaimed or undeliverable for six (6) months after the attempted distribution will revest in the post-
      confirmation debtor free of restrictions. Any entitlement to distribution will be barred.


IX. Discharge. Upon completion of payments required by the Plan, or as provided in § 1141(d)(5)(B), the Debtor will
    receive a discharge of all debts that arose prior to confirmation of the Plan, whether or not a claimant filed a proof of
    claim or voted to accept the Plan. This will not discharge Debtor from any debts that are non-dischargeable under §
    523 or from obligations created by the Plan. To obtain a discharge, the Debtor must file and serve a motion for
    discharge, and the motion must be granted.


X. List of Exhibits and Declarations.
MANDATORY

      Exhibit A: Declaration of Debtor to support all assertions in this Disclosure Statement, and all information provided
                 in all other Exhibits.

      Exhibit B: List of all claims (next to each claim, indicate whether or not the claim is disputed and scheduled or
                 unscheduled, and include the class number).

      Exhibit C: List of all property of the estate, and valuations as of the date of plan confirmation. Include appendices
                 to describe valuation methods such as order to determine value, declaration of debtor or appraiser, etc.

      Exhibit D: Projected income, expenses, and plan payments prepared on (date) March 8June 27, 2019 including
                 proposed plan payments to be made on the Effective Date and for each month and/or quarter of the
                 Plan Term. Sources and uses of funds and any expense fluctuations are explained.




OPTIONAL


      Exhibit E: Letters from Environmental Protection Agency (“EPA”) re Santa Fe Property.



    Date:                                                                  SEE NEXT PAGE
                                                                           Signature of Debtor

                                                                           Jong Uk Byun
                                                                           Printed name of Debtor


    Date: 03/1106/27/2019                                                  /s/ M. Jonathan Hayes
                                                                           Signature of attorney for Debtor, if any


                                                                           M. Jonathan Hayes
                                                                           Printed name of attorney for Debtor, if any

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                                            PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 17609
Ventura Blvd. Suite 314, Encino, CA 91316.

A true and correct copy of the foregoing document entitled: CHAPTER 11 DISCLOSURE STATEMENT AND PLAN OF
REORGANIZATION OF DEBTOR WHO IS AN INDIVIDUAL(S) WITH PRIMARILY CONSUMER DEBTS [11 U.S.C.
§§ 1123, 1125] (1st AMENDED) will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 27, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

    •   John Burgee       jburgee@bandalaw.net
    •   [Counsel for Duetsche Bank] Shirley Cho scho@pszjlaw.com
    •   Theron S Covey        tcovey@rasflaw.com, CAECF@tblaw.com
    •   [Counsel for Bank of Hope] Hal D Goldflam   hgoldflam@frandzel.com, bwilson@frandzel.com
    •   [Counsel for Debtor] M. Jonathan Hayes    jhayes@rhmfirm.com,
        roksana@rhmfirm.com;rosario@rhmfirm.com;janita@rhmfirm.com;susie@rhmfirm.com;max@rhmfir
        m.com;priscilla@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com
    •   [Counsel for Packo Investment] Christopher D Hughes chughes@nossaman.com
    •   David W. Meadows          david@davidwmeadowslaw.com
    •   [Counsel for DLI Assets Bravo, LLC] Katrina M Miller     kmiller@pskfirm.com
    •   [Counsel for US Trustee] Kelly L Morrison      kelly.l.morrison@usdoj.gov
    •   [Unsecured Creditor]Daniel E Park      dpark@parksylvalaw.com
    •   [Counsel for Hyundai Steel;] Darren L Patrick      dpatrick@omm.com
    •   [Counsel for creditor Coleman & Horowitz] Steven G. Polard      spolard@ch-law.com, cborrayo@ch-
        law.com
    •   Valerie Smith      claims@recoverycorp.com
    •   United States Trustee (LA)   ustpregion16.la.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 27, 2019, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.
Judge:
Hon. Vincent P. Zurzolo                                                   Debtor:
U.S. Bankruptcy Court                                                     Jong Uk Byun
255 E. Temple Street, Suite 1360                                          8201 Santa Fe Ave.
Los Angeles, CA 90012                                                     Huntington Park, CA 90255


                                                                                   Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 27, 2019, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.    Service information continued on attached page
                      This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

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I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  June 27, 2019                         Ja’Nita Fisher                                               /s/ Ja’Nita Fisher
  Date                                  Printed Name                                                      Signature

   Printed
   Name




                      This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.

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